         Case 5:17-cv-02514-JGB-SHK Document 211 Filed 11/04/19 Page 1 of 11 Page ID #:4309




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          9
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         10   THE GEO GROUP, INC.
    "11                               UNITED STATES DISTRICT COURT
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    ',)1 12                CENTRAL DISTRICT OF CALIFORNIA — EASTERN DIVISION

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              RAUL NOVOA, JAIME CAMPOS                       Case No. 5:17-cv-02514-JGB-SHK
(/'0, 14      FUENTES, ABDIAZIZ KARIM, and
              RAMON MANCIA, individually and on              Assigned to Hon. Jesus G. Bernal
D. E1 15      behalf of all others similarly situated,
                                Plaintiff,
    ••
                                                             DEFENDANT THE GEO GROUP,
    H 17              vs.                                    INC.'S NOTICE OF MOTION AND
                                                             MOTION TO EXCLUDE
         18   THE GEO GROUP, INC.,                           DECLARATIONS OF MUNOZ-
                                                             AGUILERA AND MARWAHA
         19                      Defendant.
         20
              THE GEO GROUP, INC.,
         21                                                  Hearing Date: December 2, 2019
                                 Counter-Claimant,           Hearing Time: 9:00 a.m.
         22                                                  Location: Courtroom 1
                       vs.
         23
              RAUL NOVOA, JAIME CAMPOS
         24   FUENTES, ABDIAZIZ KARIM, and                   TAC Filed: September 16, 2019
              RAMON MANCIA, individually and on              SAC Filed: December 24, 2018
         25   behalf of all others similarly situated,       FAC Filed: July 6, 2018
                                                             Complaint Filed: December 19, 2017
         26                      Counter-Defendant.          Trial Date: June 23, 2020

         27
         28   50655708;2                                 1                CASE NO. 5:17-CV-02514-JGB-SHK
                   DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
                      EXCLUDE DECLARATIONS OF MUNOZ-AGUILERA AND MARWAHA
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                   1            TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                   2            PLEASE TAKE NOTICE that on December 2, 2019, at 9:00 a.m., or as soon
                   3   thereafter as the parties may be heard, before The Honorable Jesus G. Bernal, in
                   4   Courtroom 1 of the above-entitled Court, located at 3470 Twelfth Street, Riverside,
                   5   California 92501, Defendant The GEO Group, Inc. ("GEO") moves to exclude the
                   6   declarations of Fernando Munoz-Aguilera and Gagandeep Marwaha.
                   7            This Motion is based on this Notice of Motion and Motion and upon such matters
                   8   as may be presented to the Court at the hearing on this Motion.
                   9
                  10   Dated: November 4, 2019                      AKERMAN LLP
         411                                                              By: /s/ Damien P. DeLaney
     O                                                                        Damien P. DeLaney
         c̀r'r—   12                                                          Ashley E. Calhoun
                                                                             Attorneys for Defendant
Hok 13                                                                       THE GEO GROUP, INC.
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                       50655708;2                           2            CASE NO. 5:17-Cv-02514-JGB-SHK
                            DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
                               EXCLUDE DECLARATIONS OF MUNOZ-AGUILERA AND MARWAHA
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        1           GEO'S MOTION TO EXCLUDE THE DECLARATIONS OF MUNOZ-
                                  AGUILERA AND MARWAHA
        2
        3                                I.   RULE 7-3 CONFERRAL

        4            This motion is made following the ongoing conferences of counsel pursuant to

        5    L.R. 7-3 which took place on October 9, 2019, October 11, 2019, and November 4,

        6    2019. Plaintiffs oppose the relief sought herein.

        7                          II.    RELEVANT FACTUAL BACKGROUND
        8            On September 27,' 2019, Plaintiffs' filed their Motion for Class Certification, ECF
        9    192, (the "Motion"), attaching declarations of two' individuals who had never before
      10     been         disclosed: Fernando Munoz-Aguilera     and   Gagandeep     Marwaha.2     Both
             declarations, signed July 26, 2019, made allegations that could be relevant for this
Ph" 12       Court's consideration of whether a class should be certified. Despite months passing
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 0 13        between the date of the declarations and the disclosure of the declarants for the first
c%)' ' 014   time in the Motion, GEO quickly began the process to try to depose the declarants.
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   c,                 On October 9, 2019, GEO was informed by Plaintiffs that "Gagandeep Marwaha
  0 16       has been deported and is not available for a deposition at this time." GEO thereafter
    H17      asked Plaintiffs to withdraw Marwaha's declaration, as he was unavailable for cross-
      18
                     Plaintiffs Ramon Mancia and Abdiaziz Karim were also never disclosed before
      19     they were added as party plaintiffs to this action, but their non-disclosure is not the
      20     focus of the present motion.
             2       Indeed, Plaintiffs did not fully comply with Local Rule 7-3 prior to filing their
      21     Motion. Any meet and confer would have been an opportunity to disclose the proposed
      22     declarants. Plaintiffs failed to do so. As another Court in this district held in a similar
             circumstance, "[a]n adequate meet-and-confer, conducted in good faith, allows and
      23     indeed requires Parties to share their factual and legal basis for their positions so that
      24     the motion, opposition, and reply that are filed contain no surprises. Had the Parties
             adequately met and conferred prior to the filing of Plaintiffs Motion for Class
      25     Certification, their respective briefs would have contained no surprises regarding their
      26     legal arguments, supporting witnesses, and so forth." Pedroza v. PetSmart, Inc., No. ED
             CV 11-298 GEM, 2012 WL 9507910, at *1 (C.D. Cal. June 14, 2012). In Pedroza, the
      27     Court struck the Motion for Certification in its entirety. Here, GEO seeks less drastic
      28     relief.
             50655708;2                           3            CASE NO. 5:17-Cv-02514-JGB-SHK
                  DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
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            1   examination. On October 11, 2019, Plaintiffs informed GEO that they had lost contact
           2    with Marwaha but were "hopeful of establishing contact in the near term." On
            3   November 4, 2019, in response to another inquiry by GEO, Plaintiffs' counsel indicated
            4   that she will not be withdrawing Marwaha's declaration and noted that in order to get in
            5   touch with him, she needs information about his departure from Adelanto, presumably
            6   held by GEO. Plaintiffs' counsel has had Marwaha's deactivation date since October 21,
            7   2019 and still do not appear to be in touch with him. To date, Plaintiffs' counselhas not
            8   provided GEO with an opportunity to cross-examine Marwaha. Instead, it appears that
            9   Plaintiffs' untimely disclosure has foreclosed the possibility of doing so, as Marwaha
           10   was deported to India and is not currently in contact with Plaintiffs' counsel.
                         GEO similarly made efforts to depose Munoz-Aguilera, who is currently detained
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     — 12
 51 `°          in ICE custody at the Adelanto Facility. Plaintiffs' counsel stated that Munoz-Aguilera
Wok             was available for a deposition on Thursday October 24, 2019, at the Adelanto Facility;
                however, Plaintiffs' counsel made little effort to facilitate the same. In order to ensure
 ri) tn

    gg 15       the deposition occurred on the proposed date, GEO contacted ICE about the possibility
E., ,c)
                of deposing Munoz-Aguilera, as he is in their custody. ICE reviewed the request and
    H 17        eventually agreed to permit Munoz-Aguilera's deposition to proceed, but did not agree
           18   to do so on the October 24th date proposed by Plaintiffs' counsel. Rather, ICE explained
           19   that the deposition had to be held on a date where Munoz-Aguilera's counsel would be
           20   able to attend. Accordingly, on October 22, 2019, GEO, through its counsel, informed
           21   Plaintiffs' counsel of this requirement, and noted "it is not clear to us whether you
           22   represent [Munoz-Aguilera] in any capacity." Rather than provide a substantive
           23   response, Plaintiffs' counsel responded that it took issue with ICE's policies, and offered
           24   to take the deposition by phone—a condition that had never before been discussed or
           25   cleared with ICE. Despite these additional barriers presented by Plaintiffs' counsel, on
           26   October 28, 2019, GEO again asked Plaintiffs' counsel if they in fact represent Munoz-
           27   Aguilera — the same question required by ICE in order to conduct Munoz-Aguilera's
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                50655708;2                           4            CASENo.5:17-cv-02514-JGB-SIIK
                     DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
                        EXCLUDE DECLARATIONS OF MUNOZ-AGUILERA AND MARWAHA
             Case 5:17-cv-02514-JGB-SHK Document 211 Filed 11/04/19 Page 5 of 11 Page ID #:4313




                   deposition, whether in person or by telephone. On November 4, 2019, a week after
               2   GEO's opposition brief was filed (and after objecting to an extension to the same),
               3   Plaintiffs' counsel sent an email to GEO noting that she will represent Mr. Munoz-
               4   Aguilera for purposes of his deposition. Like the delayed disclosures, the belated
               5   information related to Mr. Munoz-Aguilera's representation has prevented GEO from
               6   deposing Munoz-Aguilera. Indeed, if Plaintiffs' counsel has represented Mr. Munoz-
               7   Aguilera since October 11th, Plaintiffs' counsel could have worked with ICE to make
               8   Mr. Munoz-Aguilera available for a deposition prior to GEO's response deadline.
               9   Instead, Munoz-Aguilera was not available for a deposition prior to GEO's response
             10    deadline. As a result, GEO has been unable to present evidence to this Court regarding
                   the credibility of Munoz-Aguilera's declaration claims.
                           Accordingly, because the declarants were not timely disclosed, and because GEO
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*4   Wo 13         was unable to depose the declarants before filing its motion in opposition to class
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         014       certification, GEO respectfully requests that this Court exclude the declarations of
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     Hoy ,D 15     Munoz-Aguilera (ECF 192-8) and Marwaha (ECF 192-7) and decline to consider the
         ca 16     contents of the same for purposes of class certification.
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         X17                                           III.   ANALYSIS
             18            Federal Rule of Civil Procedure 26(a) requires that "a party must, without awaiting
             19    a discovery request" provide the other parties with certain initial disclosures. Disclosures
             20    required under Rule 26(a) include "the name and, if known, the address and telephone
             21    number of each individual likely to have discoverable information-along with the
             22    subjects of that information-that the disclosing party may use to support its claims or
             23    defenses, unless the use would be solely for impeachment[.]" Fed.R.Civ.P.
             24    26(a)(1)(A)(I). Rule 26(e) requires parties to supplement disclosures made under Rule
             25    26(a) or through responses to interrogatories or requests for production "in a timely
             26    manner if the party learns that in some material respect the disclosure or response is
             27    incomplete or incorrect, and if the additional or corrective information has not otherwise
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                   50655708;2                           5            CASE No. 5:17-cv-02514-JGB-SHK
                        DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
                           EXCLUDE DECLARATIONS OF MUNOZ-AGUILERA AND MARWAHA
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 1   been made known to the other parties during the discovery process or in writing[.]"
 2   Fed.R.Civ.P. 26(e)(1)(A). Rule 37 gives teeth to the requirements of Rule 26, providing
 3   for sanctions against a party that fails to disclose information required under Rule 26(a)
 4   or (e). Specifically, Rule 37 states that:
 5                If a party fails to provide information or identify a witness as required by
                  Rule 26(a) or (e), the party is not allowed to use that infotmation or
 6                witness to supply evidence on a motion, at a hearing, or at a trial, unless
                  the failure was substantially justified or is harmless.
 7
 8            Fed.R.Civ.P. 37(c)(1). Rule 37's exclusionary sanction may be avoided and
     "information may be introduced if the non-disclosing parties' failure to disclose the
     required information was substantially justified or barnharmless." Id. "The party facing
     sanctions bears the burden of proving that its failure to disclose the required
     information was substantially justified or is harmless." R & R Sails, Inc. v. Ins. Co. of
     Penn., 673 F.3d 1240, 1246 (9th Cir. 2012).
              Accordingly, this Court may exclude evidence submitted in support of class
     certification as a sanction for the failure to timely disclose such evidence under Fed. R.
     Civ. P 26(a). Guzman v. Bridgepoint Educ., Inc., 305 F.R.D. 594, 606 (S.D. Cal. 2015).
     (striking declaration submitted with motion for class certification where the failure to
     disclose was not harmless); Roberts v. Scott Fetzer Co., No. 4:07-CV-80 CDL, 2010
     WL 3546499, at *4 (M.D. Ga. Sept. 7, 2010) (holding that it was appropriate to exclude
20   declarations submitted in support of certification where the declarants were not properly
21   disclosed under Rule 26). Here, excluding the declarations of the undisclosed declarants
22   would further the goals of Rule 37's exclusionary sanction to deter parties from "hiding
23   the ball," as Plaintiffs have done here. Guzman, 305 F.R.D. at 608.
24            There is no question that Plaintiffs failed to disclose Munoz-Aguilera and
25   Marwaha. Plaintiff Novoa served his initial disclosures on July 27, 2018. Neither
26   Munoz-Aguilera nor Marwaha were identified as individuals with knowledge in
27   Plaintiff Novoa's disclosures. Thereafter, Plaintiffs Novoa and Fuentes served
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     50655708;2                           6            CASE No. 5:17-cv-02514-JGB-SHK
          DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
             EXCLUDE DECLARATIONS OF MUNOZ-AGUILERA AND MARWAHA
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          1   supplemental disclosures on June 17, 2019. Likewise, in the 2019 disclosures, neither
          2   Munoz-Aguilera nor Marwaha were disclosed. Nor were they identified at any point
          3   thereafter. Instead, the very first time GEO was made aware of Munoz-Aguilera and
          4   Marwaha was upon the filing of Plaintiffs' Motion. As these individuals are the only
          5   non-plaintiff declarants, they should have been disclosed in advance of the Motion so
          6   that GEO could conduct a proper investigation into their allegations, including by
          7   taking their depositions.
          8            There is no substantial justification for Plaintiffs' failure to disclose any
          9   individuals with relevant information upon whose declarations Plaintiffs intended to
         10   rely in the Motion. While it is likely Plaintiffs knew of Marwaha and Munoz-Aguilera's
         11   identity well in advance of obtaining their declarations,3 even assuming that Plaintiffs
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              were unaware Marwaha and Munoz-Aguilera's identities until the very day they signed
              their declarations (July 26, 2019), Plaintiffs knew of the identity of these declarants two
              full months before filing their Motion. Plaintiffs had numerous opportunities to disclose
              their identities—but declined to do so.
                       Plaintiffs did not supplement their Rule 26 disclosures. Nor did they mention the
              discovery of new witnesses in their briefing seeking leave to amend their Complaint,
         18   despite the fact that the alleged basis for seeking leave was newly discovered evidence.
         19   Rather, in their reply in support of their motion for leave to amend, Plaintiffs stated that
         20   they "began on-the-ground investigations of the Adelanto HUSP and Uncompensated
         21   Work Program immediately after the June depositions. Several detained immigrants,
         22   including Abdiaziz Karim and Ramon Mancia, came forward with allegations
         23   pertaining to both policies." ECF 181, 3-4. At the time of that filing, Marwaha and
         24   Munoz-Aguilera had already signed their declarations and Plaintiffs should have
         25   disclosed their identity. Instead, as they had done with Plaintiffs Karim and Mancia's
         26
         27   3
                     Indeed, Plaintiffs have previously conceded that they investigated the Adelanto
         28   Facility following depositions in June. ECF 181, 3.
              50655708;2                           7            CASE NO. 5:17-cv-02514-JGB-SHK
                   DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
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                identities, they concealed the information for months, only disclosing their identities in
            2   connection with motions filed with this Court, not Rule 26 disclosures. Given this
            3   recurring pattern, GEO anticipates that Plaintiffs will be unable to meet their burden to
            4   establish substantial justification. Braggs v. Dunn, No. 2:14CV601-MHT, 2017 WL
            5   659169, at *7 (M.D. Ala. Feb. 17, 2017) (concluding that Plaintiffs' failure to disclose
            6   declarants was not substantially justified).
            7            Further, GEO was prejudiced by Plaintiffs' failure to disclose the additional
            8   declarants. Had Plaintiffs disclosed the identities of those declarants, GEO could have
            9   scheduled a deposition of Marwaha before his deportation. And, GEO could have had
           10   sufficient time to schedule a deposition of Munoz-Aguilera. Gonzalez v. State of Fla.

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      Cn
           11   Dep't of Mgmt. Servs., 124 F. Supp. 3d 1317, 1327 (S.D. Fla. 2015) (striking
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                declarations provided by Plaintiffs where Defendant was unable to depose the
                declarants prior to the ruling on the relevant motion); see also Edwards v. Nat'l Vision,
                Inc., 946 F.Supp.2d 1153, 1159 (N.D.Ala. 2013), affd, 568 Fed.Appx. 854 (11th Cir.
                2014) (same). Instead, GEO was unable to depose the declarants in advance of this
                Court's consideration of the Motion. This is particularly prejudicial where, as here, the
                declarations include statements that are not otherwise supported by any evidence
           18   offered by Plaintiffs. As GEO believes there are reasons to doubt the veracity of the
           19   statements made in Marwaha and Munoz-Aguilera's declarations, but has been
           20   precluded from cross-examining them on their statements, their declarations should be
           21   excluded from the class certification analysis.
           22            To be clear, GEO seeks a reasonable sanction for Plaintiffs' failure to timely
           23   disclose the evidence upon which it intended to rely in seeking class certification. GEO
           24   does not (at this point) seek the exclude the evidence at trial, nor does it seek monetary
           25   sanctions. Cf. Pedroza, 2012 WL 9507910, at *1 (striking the entirety of a class
           26   certification brief for inadequate disclosure of declarants prior to filing). Rather, GEO
           27   asks this Court to exclude the declarations of Marwaha and Munoz-Aguilera from its
           28
                50655708;2                                     8              CASE NO. 5:17-Cv-02514-JGB-SHK
                     DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
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                 1   consideration of the class certification motion to cure the prejudice caused by Plaintiffs'
                 2   failure to disclose the same. This minimal sanction is justified by Plaintiffs' ongoing
                 3   failure to disclose individuals with knowledge of their claims.
                 4                                     IV.   CONCLUSION
                 5            For the foregoing reasons, GEO respectfully requests that this Court exclude the
                 6   declarations submitted by Munoz-Aguilera and Marwaha from its consideration of
                 7   Plaintiffs' motion for class certification, and any other relief that this Court deems just
                 8   and proper.
                 9   Dated: November 4, 2019                 AKERMAN LLP
                10                                           By: /s/ Damien P. DeLaney
                                                                 Damien P. DeLaney
           411                                                   Ashley E. Calhoun
                                                             Attorney for Defendant
     WAN 12                                                  THE GEO GROUP, INC.
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                     50655708;2                           9            CASE No. 5:17-cv-02514-JGB-SHK
                          DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND MOTION TO
                             EXCLUDE DECLARATIONS OF MUNOZ-AGUILERA AND MARWAHA
     Case 5:17-cv-02514-JGB-SHK Document 211 Filed 11/04/19 Page 10 of 11 Page ID
                                      #:4318



                                         PROOF OF SERVICE
 2     STATE OF CALIFORNIA                 )
 3     COUNTY OF LOS ANGELES )
 4            I am employed in the County of Los Angeles, State of California; I am over the
       age of 18 years and not a party to this action. My business address is 601 West Fifth
 5     Street, Suite 300, Los Angeles, California 90071.
 6              On November 4, 2019, I served the following document(s) described as:
 7        DEFENDANT THE GEO GROUP, INC.'S NOTICE OF MOTION AND
         MOTION TO EXCLUDE DECLARATIONS OF MUNOZ-AGUILERA AND
 8                            MARWAHA
 9     on the persons as indicated below:
10     E        (CM/ECF ELECTRONIC FILING) I caused the above document(s) to be
                transmitted to the office(s) of the addressee(s) listed below by electronic mail
11              at the e-mail address(es) set forth above pursuant to Fed.R.Civ.P.5(d)(1). "A
                Notice of Electronic Filing (NEF) is generated automatically by the ECF
                system upon completion 0: an electronic filing. The NEF, when e-mailed to
                the e-mail address of record in the case, shall constitute the proof of service as
                required by Fed.R.Civ.P.5(d)(1). A copy of the NEF shall be attached to any
                document served in the traditional manner upon any party appearing pro se."

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28
       50655708;2                                    1            CASE No. 5:17-cv-02514-JGB-SHK
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                Case 5:17-cv-02514-JGB-SHK Document 211 Filed 11/04/19 Page 11 of 11 Page ID
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            8     Facsimile: (469) 444-5002
            9
                  111      (MAIL) I placed the envelope to R. Andrew Free for collection and mailing,
           10              following our ordinary business practices. I am readily familiar with this
                                 practice for collecting and processing correspondence for mailing. On
           11              the same day that correspondence is placed for collection and mailing, it is
                           deposited in the ordinary course of business with the United States -Postal
           12              Service, in a sealed envelope with postage fully 'prepaid. I am a resident or
                           employed in the county where the mailing occurred. 'The envelope or package
           13              was placed in the mail at Los Angeles, California.
ffok
H
           14     R. Andrew Free (admitted pro hac vice)
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                  andrew@immigrantcivilrights.com
fag        15     TN Bar # 030513
4-, Mg°.          LAW OFFICE OF R. ANDREW FREE
           16     P.O. Box 90568
3. aa             Nashville, Tennessee 37209
           17     Telephone: (844) 321-3221
                  Facsimile: (615) 829-8959
           18
                        I declare under penalty of perjury that I am employed in the office of a member
           19     of the bar of this Court at whose direction this service was made and that the
                  foregoing is true and correct.
           20

           21
                  ❑         (State)   I declare under penalty of perjury under the laws of the State of
                                      California that the above is true and correct.
           22     ▪         (Federal) I declare that I am employed in the office of a member of the Bar of
                                      this Court at whose direction the service was made. I declare under
           23                         penalty of perjury under the laws of the United States of America
                                      that the above is true and correct.
           24
                            Executed on November 4, 2019, at Los Angeles, California.
           25

           26

           27                                                             C7" Li
                                                                              (Signature)
                                  Maxine Maritz
           28
                   50655708;2                                2             CASE No. 5:17-cv-02514-JGB-SHK
                                                       PROOF OF SERVICE
